             Case 3:19-cv-02405-WHA Document 149 Filed 01/08/20 Page 1 of 2




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12

13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

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      CITY AND COUNTY OF SAN                         Case No. 3:19-cv-2405-WHA
16    FRANCISCO,
                                                     [PROPOSED] FINAL JUDGMENT
17           Plaintiff,

18           vs.

19    ALEX M. AZAR II, Secretary of U.S.
      Department of Health and Human Services;
20    ROGER SEVERINO, Director, Office for
      Civil Rights, Department of Health and Human
21    Services; U.S. DEPARTMENT OF HEALTH
      AND HUMAN SERVICES; and DOES 1-25,
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             Defendants.
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      [Proposed] Final Judgment;                                N:\CXLIT\LI2020\181059\01417922.DOCX
      Case No. 3:19-cv-2405-WHA
             Case 3:19-cv-02405-WHA Document 149 Filed 01/08/20 Page 2 of 2




 1                                    [PROPOSED] FINAL JUDGMENT

 2          For the reasons detailed in the Court’s November 19, 2019, Order, (ECF No. 147), the Court

 3   enters the following dispositions:

 4          Plaintiff City and County of San Francisco’s Motion for Summary Judgment (see ECF No.
 5   116; State of California v. Azar et al., No. 3:19-cv-02769 (N.D. Cal.), ECF No. 113) is GRANTED as
 6   to Count I. In all other respects, plaintiff’s motion is moot. Judgment is HEREBY ENTERED in
 7   favor of plaintiff, and the challenged rule is set aside and shall be unenforceable. Plaintiff’s remaining
 8   claims are dismissed as moot.
 9          Defendants’ Motion to Dismiss or, in the Alternative, for Summary Judgment (ECF No. 89) is
10   DENIED.
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12          IT IS SO ORDERED.
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14            January 8, 2020.
     Dated: _____________________
15                                                 HON. WILLIAM ALSUP
                                                   United States District Judge
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      [Proposed] Final Judgment;                           1           N:\CXLIT\LI2020\181059\01417922.DOCX
      Case No. 3:19-cv-2405-WHA
